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                               UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA


Christine Whalen, et al.,                           Case No.: 23-cv-00459-VC


               Plaintiffs,                           STATEMENT OF RECENT DECISION
                                                     PURUSANT TO LOCAL RULE 7-3(d)(2)
       v.

                                                    Date:          October 20, 2023
Kroger Co., Albertsons Companies, Inc.,             Time:          10:00 AM
and Cerberus Capital Management, L.P.,              Judge:         Hon. Vince Chhabria
               Defendants.
                                                    Complaint Filed: February 2, 2023




       Pursuant to Northern District of California Civil Local Rule 7-3(d)(2), Plaintiffs

respectfully submit this Statement of Recent Decision to bring to the Court’s attention Judge

William Young’s recent decision in Garavanian, et al. v. JetBlue Airways Corporation, No 1:23-

cv-10678-WGY (October 11, 2023 D. Mass.), ECF No. 310. Judge Young granted in part and

denied in part a motion to for summary judgment filed by the Defendants in that case against a

complaint asserting a similar Section 7 claim seeking to halt the merger of JetBlue Airways

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Corporation with Spirit Airlines. A true and correct copy of the decision is attached hereto as

Exhibit A. The JetBlue decision concerns allegations similar to those at issue in the instant action

as it relates to standing and is therefore relevant to issues raised in the Joint Status Report before

the Court.

       In addition, in order to provide context to the Massachusetts Court’s decision, Plaintiffs

have attached a true and correct copy of the transcript of the proceedings held at the hearing on

the Motion for Summary Judgment in Boston and respectfully direct this Court’s attention to the

passage at page 9, line 24 of the transcript where, in reply to the argument that Plaintiff Garavanian

was the only person who flew an affected route out of over 700 routes, Judge Young stated: “He

only needs 1.”

Dated: October 19, 2023                        Respectfully submitted:


                                       By:     s/ Joseph M. Alioto
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